  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSE HERNANDEZ,                    )
                                   )
     Petitioner,                   )
                                   )         CIVIL ACTION NO.
     v.                            )           2:17cv551-MHT
                                   )                (WO)
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )

                               JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United         States      Magistrate       Judge's

recommendation (doc. no. 18) is adopted.

    (2) The     28    U.S.C.     § 2255    petition    for   writ    of

habeas corpus (doc. no. 1) is denied.

    It is further ORDERED that costs are taxed against

petitioner, for which execution may issue.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket     as   a   final   judgment

pursuant   to   Rule   58   of    the     Federal    Rules   of   Civil
Procedure.

    This case is closed.

    DONE, this the 31st day of March, 2020.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
